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  UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,              CR. NO. 19-00099 DKW-KJM

                   Plaintiff,            UNITED STATES’ MOTION IN
                                         LIMINE TO (1) ADMIT PRIOR
       vs.                               STATEMENTS AND (2) PRECLUDE
                                         IMPROPER USE OF 302S;
  MICHAEL J. MISKE, JR.,         (01)    CERTIFICATE OF SERVICE
      aka “Bro,”
  JOHN B. STANCIL,               (02)
  DELIA FABRO-MISKE, and         (12)
  JASON K. YOKOYAMA,             (13)

                   Defendants.


            UNITED STATES’ MOTION IN LIMINE TO (1) ADMIT
      PRIOR STATEMENTS AND (2) PRECLUDE IMPROPER USE OF 302S
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         The United States moves in limine for a ruling permitting the admission of

  prior statements of witnesses, for the truth of the matters asserted, where the

  requirements of Federal Rule of Evidence 801(d) are met. The United States further

  moves for a ruling precluding the defense from using 302s or other reports of

  interview (ROI) as if they were prior inconsistent statements of the interviewees.

         1. Over the course of the investigation into the racketeering enterprise

  charged in this case, several witnesses testified in the grand jury. When individuals

  testified in that setting, they did so under oath, and a verbatim transcript was

  prepared of their testimony. Law enforcement also interviewed a wide variety of

  witnesses outside the grand jury. These interviews typically were not recorded.

  Instead, consistent with common practice, law enforcement agents prepared reports

  of the interviews after the interviews were completed. When prepared by the FBI,

  these reports are called 302s. They bear different names when prepared by HSI,

  ATF, or EPA, for example. In the end, however, ROIs are the written statements of

  the agents who prepare them. They are not statements of the interviewees.1

         2. This Court should now rule that whenever the requirements of either

  Federal Rule of Evidence 801(d)(1)(A) or 801(d)(1)(B) are met, then a prior




     1
      The only exception is where the individual who has been interviewed reviews
  and adopts the 302 or other ROI as their own.


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  statement is not hearsay and may be admitted for the truth of the matters asserted

  therein.

        Rule 801(d)(1)(A) concerns prior inconsistent statements. That provision is

  satisfied, and a prior inconsistent statement is not considered hearsay, if (1) the

  witness testifies and is subject to cross-examination about a prior statement; and

  (2) the statement is inconsistent with the witness’s testimony and was given “under

  penalty of perjury at a trial, hearing, or other proceeding or in a deposition.” This

  is most likely to arise if a witness who previously testified in the grand jury—and

  therefore under penalty of perjury—testifies at trial in a manner that is inconsistent

  with testimony they gave before the grand jury. In that event, the government

  should be permitted to introduce the relevant transcripts of the grand jury

  testimony to prove that the witness made a prior inconsistent statement, and the

  jury should be permitted to consider that prior inconsistent statement for its truth.

  For the reasons explained infra at pp. 3-5, however, 302s and other ROIs

  themselves would not constitute prior inconsistent statements of the interviewees.

        Rule 801(d)(1)(B) concerns prior consistent statements. That provision is

  satisfied, and the prior consistent statement is not considered hearsay, if (1) the

  witness testifies and is subject to cross-examination about the prior statement; (2)

  the prior statement is consistent with the witness’s testimony; and (3) the prior

  statement is being offered either to “rebut an express or implied charge that the



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  [witness] recently fabricated it or acted from a recent improper influence or motive

  in so testifying,” or to “rehabilitate the [witness’s] credibility as a witness when

  attacked on another ground.” This rule does not require the prior consistent

  statement to have been made under penalty of perjury. Accordingly, the

  government should be free to prove, through grand jury transcripts, recordings of

  prior interviews, or the testimony of agents who previously interviewed witnesses,

  that they made a prior consistent statement. Here again, however, 302s and other

  ROIs themselves would not be prior consistent statements of the interviewees.

        3. As noted above, ROIs and 302s are not themselves prior statements of

  the individual who was interviewed—whether consistent or inconsistent. For that

  reason, this Court should now rule that the defense may not (1) publish or

  introduce the contents of any ROI as a purported prior inconsistent statements; or

  (2) use any ROI in a way that suggests to the jury that it is the witness’s statement.

        “Every circuit to address the question, including the Ninth Circuit, has held

  that FBI 302s generally are not discoverable under the Jencks Act.” United States

  v. Kot, 2012 WL 1657118, at *1 (D. Nev. May 10, 2012), aff’d 583 F. App’x 716

  (9th Cir. 2014). “[T]hey are not statements of the witness within the meaning of

  the statute”; that is, because “the 302s are written after interviews are completed

  and reflect the thought processes and interpretations of the agent, they do not

  constitute a contemporary and substantially verbatim recital of the witness’s



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  statement.” Id.; see also United States v. Clairborne, 765 F.2d 784, 801 (9th Cir.

  1985) (explaining that because “the summaries represent . . . the agents’ selection

  of certain information,” they are “non Jencks Act material”), abrogated on other

  grounds by Ross v. Oklahoma, 487 U.S. 81 (1988).

        Given that 302s and other ROI are not the statements of the individuals who

  were interviewed, it would “‘be grossly unfair to allow the defense to use

  statements to impeach a witness which could not fairly be said to be the witness’

  own rather than the product of the investigator’s selections, interpretations, and

  interpolations.’” Kot, 2012 WL 1657118, at *2 (quoting Palermo v. United States,

  360 U.S. 343, 350 (1959)). To be sure, an ROI may give the defense a good faith

  basis to ask a witness whether they previously made a statement. But if the

  defense is not satisfied with the answer they receive, they should not be permitted

  to “publish or introduce the contents of the 302 as a prior inconsistent statement.”

  Id.; see also United States v. Leonardi, 623 F.2d 746, 757 (2d Cir. 1980) (holding

  that because “the written statement of the FBI agent was not attributable” to the

  witness, it was “properly rejected as a prior inconsistent statement”); United States

  v. Hill, 526 F.2d 1019, 1026 (10th Cir. 1975) (upholding the trial court’s decision to

  “not allow counsel to use the 302 statement to impeach a witness because the

  witness did not prepare or sign the document and probably never adopted it”).




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        Furthermore, the defense should not be permitted to “use the 302 in a way

  that suggests to the jury that the 302 is a statement of the witness.” Kot, 2012 WL

  1657118, at *2. For example, defense should not be allowed to read directly from

  a 302 during their cross-examination, or brandish a written 302 before a testifying

  witness, which would create the impression that there is a written prior statement

  from the witness. See United States v. Marks, 816 F.2d 1207, 1211 (7th Cir. 1987)

  (recognizing the risk of juror confusion when the jury sees an attorney “reading

  from a written report of some sort”); accord United States v. Harris, 2018 WL

  1990520, at *1 (D. Haw. Apr. 25, 2018) (ruling that the defendant “may not quote

  from, publish, or suggest to the jury in any way that the contents of an interview

  summary is a statement of the witness who was interviewed”).

        4. For the above reasons, the government respectfully requests that the

  Court grant this motion in limine.

        DATED: November 13, 2023, at Honolulu, Hawaii.

                                         CLARE E. CONNORS
                                         United States Attorney
                                         District of Hawaii

                                         By /s/ Mark A. Inciong
                                           MICHAEL D. NAMMAR
                                           MARK A. INCIONG
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                                           Assistant U.S. Attorneys




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                              CERTIFICATE OF SERVICE

     I hereby certify that, on the date noted below, the true and correct copy of

  the foregoing was served on the following at their last known address:

  Served Electronically through CM/ECF:

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                                                          JASON K. YOKOYAMA

           DATED: November 13, 2023, at Honolulu, Hawaii.

                                            /s/ Tiani Kaneakua
                                            U.S. Attorney’s Office
                                            District of Hawaii
